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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )          4:10CR3005
                                                )
                      Plaintiff,                )
                                                )
       vs.                                      )
                                                )          ORDER
SKYLER SHAWN SPEAR,                             )
                                                )
                      Defendant.                )

       IT IS ORDERED that:


       (1)     The government’s request for hearing is granted.


       (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 90) has been set before the undersigned United States district judge on
Wednesday, September 14, 2011, at 12:30 p.m., in Courtroom No. 1, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)     The United States Marshal is directed to return the defendant to the district for
the hearing.


       (4)     Counsel for the defendant, if previously appointed pursuant to the Criminal
Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion.
If retained, counsel for the defendant remains as counsel for the defendant until the Rule
35(b) motion is resolved or until given leave to withdraw.


       (5)     The Federal Public Defender shall provide CJA counsel with a new voucher.


       (6)     The Clerk of the Court shall provide a copy of this order to counsel for the
government and counsel for the defendant. The undersigned’s judicial assistant will provide
a copy to the Federal Public Defender.


       Dated August 10, 2011.
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                                   BY THE COURT:

                                   Richard G. Kopf
                                   United States District Judge




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